            Case 2:25-cv-05564                      Document 5                Filed 06/19/25            Page 1 of 1 Page ID #:138
AO 121 (Rev. 06/16)
TO:

                  Register of Copyrights                                                               REPORT ON THE
                   U.S. Copyright Office                                                       FILING OR DETERMINATION OF AN
                101 Independence Ave. S.E.                                                            ACTION OR APPEAL
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     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME AND LOCATION
        G ACTION               G APPEAL
                                                                          United States District Court, Central District of California
DOCKET NO.                          DATE FILED
        2:25-cv-5564                          6/19/2025
PLAINTIFF                                                                             DEFENDANT
Alexandra Marwa Saber f/k/a Marwa Talatt Abdelmonem                                   Alexandra Marwa Saber f/k/a Marwa Talatt Abdelmonem
p/k/a Denims; Does 1-10                                                               p/k/a Denims; Does 1-10



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                                                                TITLE OF WORK                                                 AUTHOR OR WORK
    REGISTRATION NO.

1 PAu 4-256-429                      Content Nuke: Hasan Piker                                                      Ted Entertainment, Inc.

2 PAu004257253                       The H3 Show #105: Countdown to Doomsday                                        Ted Entertainment, Inc.

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
                                             G Amendment                 G Answer               G Cross Bill              G Other Pleading
       COPYRIGHT
                                                                TITLE OF WORK                                                 AUTHOR OF WORK
    REGISTRATION NO.

1

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    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                        DATE RENDERED

            G Order            G Judgment                                     G Yes        G No

CLERK                                                            (BY) DEPUTY CLERK                                               DATE



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